                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA
                                     FORT WAYNE DIVISION

 JOSEPH MALDONADO,

                         Plaintiff,

                            v.                                 CAUSE NO.: 1:25-cv-239-HAB

 BLACK PINES ANIMAL SANCTUARY


                         Defendant

                                      OPINION AND ORDER

       This matter is before the Court upon the filing of Plaintiff Joseph Maldonado’s Complaint

under the Endangered Species Act and Emergency Petition for Injunctive Relief. (Compl. ECF

No. 1). As set forth in the Complaint, the Plaintiff brings this action under the citizen suit provision

of the Endangered Species Act (“ESA”), 15 U.S.C. §1540(g), seeking to preliminarily and

permanently enjoin Defendant Black Pines Animal Sanctuary (“the Sanctuary”) from violating the

ESA by neutering Elvis, a white Bengal Tiger in its care. The Complaint requests emergency relief

in the form of a temporary restraining order as well as an expedited hearing for preliminary

injunctive relief. As far as the Court can glean, the Sanctuary has not yet been served with the

Complaint.

       Federal Rule of Civil Procedure 65(b) authorizes courts, in limited circumstances, to issue

a temporary restraining order without notice to adverse parties or their attorneys. Fed. R. Civ. P.

65(b)(1). That is, a party seeking a temporary restraining order under Rule 65(b) must satisfy two

procedural requirements in addition to showing that the four preliminary injunction factors favor

relief. Id.; see Winter v. Nat. Res. Def. Council, 555 U.S. 7, 20 (2008). First, the movant must point

to “specific facts in an affidavit or a verified complaint [that] clearly show that immediate and
irreparable injury, loss, or damage will result to the movant before the adverse party can be heard

in opposition.” Fed. R. Civ. P. 65(b)(1). Second, the “movant’s attorney [must] certif[y] in writing

any efforts made to give notice and the reasons why it should not be required.” Id. These “stringent

restrictions” on ex parte temporary restraining orders “reflect the fact that our entire jurisprudence

runs counter to the notion of court action taken before reasonable notice and an opportunity to be

heard has been granted both sides of a dispute.” Granny Goose Foods, Inc. v. Bhd. of Teamsters

& Auto Truck Drivers Loc. No. 70 of Alameda Cnty., 415 U.S. 423, 438–39 (1974).

       Here, the Plaintiff has not complied with Rule 65’s requirement that a request for a

temporary restraining order be accompanied by a verified complaint or an affidavit setting forth

specific facts that “clearly show that immediate and irreparable injury, loss, or damage will result

to the movant before the adverse party can be heard.” The Complaint here is not verified nor is it

accompanied by an affidavit from anyone attesting to the veracity of the allegations contained

therein.

       Moreover, to the extent that the Complaint seeks preliminary injunctive relief, it violates

this Court’s local rules. By this Court’s local rules, “[t]he court will consider requests for

temporary restraining orders only if the moving party: (1) files a separate motion for relief; (2)

files a supporting brief; and (3) complies with Fed. R. Civ. P. 65(b). N.D. Ind. L. R. 65-1(b).

Likewise, in the case of preliminary injunctions, this Court’s rules require a separate motion for

relief. The filings in this case do not comply with these foundational rules.

       Aside from the absence of the above procedural requirements, this Court is unclear that a

suit may even be brought by Plaintiff under the citizen suit provision of the ESA without first

providing 60-days notice of the intent to file a lawsuit. See 16 U.S.C. §1540(g)(2) (No action may

be commenced under subparagraph (1)(A) of this section--(i) prior to sixty days after written notice
of the violation has been given to the Secretary, and to any alleged violator of any such provision

or regulation). Similarly, there is no proffer of authority or verified factual assertions to support

the generalized allegations in the Complaint that Elvis is covered by the ESA.

       For all these reasons then, the request for emergency relief in the form of a temporary

restraining order is DENIED. To the extent the Plaintiff seeks preliminary injunctive relief, he

must comply with the Federal Rules of Civil Procedure and this Court’s local rules before the

Court will consider such request.

       SO ORDERED on May 16, 2025

                                              s/ Holly A. Brady
                                              CHIEF JUDGE HOLLY A. BRADY
                                              UNITED STATES DISTRICT COURT




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